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                    IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TERENCE GARVEY, individually and on                    )
behalf of classes of similarly situated individuals,   )
                                                       )
                               Plaintiff,              )    No.
                                                       )
                       v.                              )
                                                       )
AMERICAN BANKERS INSURANCE                             )
COMPANY OF FLORIDA,                                    )
a Florida corporation,                                 )
                                                       )
                                                       )
                               Defendant.              )

                                CLASS ACTION COMPLAINT

       Plaintiff Terence Garvey (“Plaintiff”) brings this class action complaint against

Defendant American Bankers Insurance Company of Florida (“Bankers”) to stop Bankers’

unlawful telephone solicitation practices and to obtain redress for all persons injured by its

conduct. Plaintiff alleges as follows upon personal knowledge as to himself and his own acts

and experiences, and as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                  NATURE OF THE ACTION

       1.      In a misguided effort to market automotive warranties, Bankers, an underwriter of

such products, engaged third-parties to establish an automated calling operation to place

unsolicited telemarketing calls to the cellular telephones of thousands of consumers nationwide.

       2.      Bankers violated federal law when the automated calling operation established,

financed and underwritten by Bankers, placed unauthorized automated telephone calls



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(“robocalls”) using an Automatic Telephone Dialing System (“ATDS”) to the cellular telephones

of individuals throughout the nation.

          3.   Bankers also violated federal law when the automated calling operation it

established, financed and underwrote to market automotive warranties, placed unauthorized

telephone solicitation calls to the telephones of individuals throughout the nation whose phone

numbers were registered with the National Do-Not-Call registry, as established by 47 U.S.C. §

227(c).

          4.   By effectuating these unauthorized calls, Defendant has violated the called

parties’ statutory rights and has caused such call recipients actual harm, not only because the

called parties were subjected to the aggravation and invasion of privacy that necessarily

accompanies unsolicited telephone solicitation calls, but also because the recipients often must

pay their cellular phone providers for receiving the calls or incur a usage deduction on their plan.

          5.   In order to redress these injuries, Plaintiff, on behalf of himself and two

nationwide classes brings suit under the Telephone Consumer Protection Act, 47 U.S.C. § 227 et

seq. (the “TCPA”), which protects the privacy right of consumers to be free from receiving

unsolicited automated telephone calls.

          6.   On behalf of the classes, Plaintiff seeks an injunction requiring Bankers to cease

all unauthorized automated telephone calls, and an award of statutory damages to the members

of the classes, together with costs and reasonable attorneys’ fees.

                                 JURISDICTION AND VENUE

          7.   This Court has federal question subject matter jurisdiction under 28 U.S.C.

§ 1331, as the action arises under the federal Telephone Consumer Protection Act, 47 U.S.C.


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§ 227 et seq.

       8.       Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391(b)

because Plaintiff resides in this District, Bankers transacts business in this District, and a

substantial part of the events concerning the unauthorized robocalls at issue occurred in this

District, as Plaintiff’s cellular telephone received unsolicited robocalls placed on behalf of

Bankers within this District.

                                               PARTIES

       9.       Plaintiff is a resident of the State of Illinois.

       10.      Bankers is a nationwide provider of automotive warranty underwriting services.

Bankers is a Florida corporation with its principal place of business located in Florida. Bankers

conducts business in this District, and conducts business elsewhere throughout the United States.

                             COMMON ALLEGATIONS OF FACT

       11.      Bankers is a nationwide provider of automotive warranty underwriting services to

numerous warranty administrators.

       12.      Such automotive warranty administrators sell and service automotive warranty

policies to consumers nationwide and partner with Bankers to finance the sale of such policies.

       13.      In an effort to increase the sale of its automotive warranty products, Bankers

partnered with various administrators to establish an automated calling operation to solicit

potential customers nationwide. The call centers established on behalf of Bankers were operated

by third-parties which marketed its underwritten goods and services by using an ATDS to place

telephone calls to the phone numbers of thousands of potential customers every day.




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        14.     The automated calling operation was established to act on Bankers’ behalf to

solicit the purchase of Bankers’ underwritten automotive warranty services by consumers.

        15.     Starting at least as early as 2016, Bankers, through its automated calling

operation, engaged in the mass transmission of unsolicited robocalls to the cell phones

nationwide of what it hoped were potential customers of Bankers’ automotive warranty services.

        16.     Beginning in or about 2016, in an apparent effort to sell to Plaintiff automotive

warranty services underwritten by Bankers, Bankers’ agents began placing robocalls to

Plaintiff’s cellular telephone.

        17.     These automated solicitation calls, including the calls made to Plaintiff, were

placed en masse using “predictive dialing” technology, which automatically places calls without

human intervention until the called party answers the call, at which time such automatic dialer

attempts to connect the called party with a human representative.

        18.     When Plaintiff would answer the phone calls, the call would be connected to the

automated calling operation maintained by Bankers’ agents and a sales representative would

eventually come on the line and attempt to make a “sales pitch” promoting automotive warranty

services underwritten by Bankers.

        19.     For example, in November 2016, Plaintiff received yet another unauthorized

robocall from Bankers. When Plaintiff answered the call, a sales associate introduced herself by

name, stated that she was calling on behalf of a marketer of Bankers’ products, and proceeded to

make a sales pitch.

        20.     Plaintiff received these unwanted and unsolicited robocalls several times per

month over the past years preceding the filing of the instant complaint. The unauthorized

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robocalls placed by Bankers invaded Plaintiff’s privacy, forced him to spend hours investigating

their source, and repeatedly interfered with his use of his cellular telephone over a matter of

months.

       21.     Plaintiff’s cellular telephone number has been registered with the National Do-

Not-Call Registry at all times that he received robocalls from Bankers. Plaintiff had never

contacted Bankers for any purpose or had any business relationship with Bankers prior to the

calls commencing.

       22.     Bankers is, or should have been, aware that the automated calling operation

marketing its warranties was placing telephone solicitation calls in violation of the TCPA.

       23.     Bankers has the ability to prevent unauthorized calls in violation of the TCPA

from being placed by its automated calling operation.

                              CLASS ACTION ALLEGATIONS

       24.     Plaintiff brings this action on behalf of himself and the following classes

(together, the “Classes”) defined as follows:

       (i) The Written Consent Class: All persons in the United States and its Territories who,

since October 16, 2013, received one or more telephone solicitation calls on their cellular

telephone advertising the sale of automotive warranties underwritten by Bankers through an

automated telephone dialing system without providing prior express written consent to receive

such phone calls.

       (ii) The Do-Not-Call Class: All persons in the United States and its Territories who, in

the four years prior to the filing of the Complaint in this matter, received at least two telephone

solicitation calls advertising the sale of automotive warranties underwritten by Bankers within

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any twelve month period within those four years, never had an established business relationship

with Bankers prior to receiving the calls, and who registered his or her phone number with the

National Do-Not-Call Registry at least 31 days prior to receiving such calls.

       25.     Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Classes. Plaintiff has retained counsel with substantial experience in prosecuting

complex litigation and class actions. Plaintiff and his counsel are committed to vigorously

prosecuting this action on behalf of the other members of the Classes, and have the financial

resources to do so. Neither Plaintiff nor his counsel has any interest adverse to those of the other

members of the Classes.

       26.     Absent a class action, most members of the Classes would find the cost of

litigating their claims to be prohibitive and would have no effective remedy. The class treatment

of common questions of law and fact is also superior to multiple individual actions or piecemeal

litigation in that it conserves the resources of the courts and the litigants, and promotes

consistency and efficiency of adjudication.

       27.     Bankers has acted and failed to act on grounds generally applicable to the Plaintiff

and the other members of the Classes, requiring the Court’s imposition of uniform relief to

ensure compatible standards of conduct toward the members of the Classes, and making

injunctive or corresponding declaratory relief appropriate for the Classes as a whole.

       28.     The factual and legal bases of Bankers’ liability to Plaintiff and to the other

members of the Classes are the same, resulting in injury to Plaintiff and to all of the other

members of the Classes. Plaintiff and the other members of the Classes have all suffered harm

and damages as a result of Bankers’ unlawful and wrongful conduct.

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       29.     Upon information and belief, there are hundreds, if not thousands, of members of

the Classes such that joinder of all members is impracticable.

       30.     There are many questions of law and fact common to the claims of Plaintiff and

the other members of the Classes, and those questions predominate over any questions that may

affect individual members of the Classes. Common questions for the Classes include, but are not

limited to, the following:

       (a)     Did Bankers cause automated telephone calls marketing Bankers’ products and

               services to be placed?

       (b)     Were the calls marketing Bankers’ automotive warranties placed using an

               automatic telephone dialing system?

       (c)     Did Bankers cause to be placed telephone solicitation calls advertising its services

               using an automatic telephone dialing system after October 16, 2013 to persons

               who did not previously provide Bankers with prior express written consent to

               receive such calls on their respective cellular telephone numbers?

       (d)     Did the unauthorized calls made on behalf of Bankers using an ATDS violate the

               TCPA?

       (e)     Did Bankers cause to be placed telephone solicitation calls advertising Bankers’

               services to persons whose telephone numbers were registered with the National

               Do-Not-Call Registry and did not provide Bankers with prior express written

               consent to receive such calls?

        (f)    Was Bankers’ conduct in violation of the TCPA willful such that the members of

               the Classes are entitled to treble damages?

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          (g)   Should Bankers be enjoined from continuing to engage in such conduct?

                                             COUNT I
          Violation of the Telephone Consumer Protection Act (47 U.S.C. § 227, et seq.)
                              on behalf of the Written Consent Class

          31.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

          32.   Bankers made unauthorized telephone solicitation calls after October 16, 2013

without prior express written consent using an automatic telephone dialing system to the cellular

telephone numbers of Plaintiff and the other members of the Written Consent Class.

          33.   Each such automated call was made using equipment that had the capacity at the

time the calls were placed to store or produce telephone numbers to be called using a random or

sequential number generator and to dial such numbers without human intervention.

          34.   Bankers’ conduct violated the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii).

          35.   As a result of Bankers’ illegal conduct, the members of the Written Consent Class

have had their privacy rights violated, have suffered statutory and actual damages, and, under 47

U.S.C. § 227(b)(3)(B), are each entitled, inter alia, to a minimum of $500.00 in damages for each

such violation of the TCPA.

                                            COUNT II
          Violation of the Telephone Consumer Protection Act (47 U.S.C. § 227, et seq.)
                                on behalf of the Do-Not-Call Class

          36.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.




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       37.     Bankers made at least two telephone solicitation calls to the telephone numbers of

Plaintiff and the other members of the Do-Not-Call Class within a twelve month period in the

four years prior to the commencement of this litigation.

       38.     Each such call was placed more than 31 days after Plaintiff and the other

members of the Do-Not-Call Class had registered their respective phone numbers with the

National Do-Not-Call Registry.

       39.     Plaintiff and the other members of the Do-Not-Call Class never had an established

business relationship with Bankers prior to receiving the calls.

       40.     Plaintiff and the other members of the Do-Not-Call Class never gave prior express

written consent to Bankers to receive telephone solicitation calls prior to receiving the calls.

       41.     Bankers’ conduct violated the TCPA, 47 U.S.C. § 227(c)(5) and its implementing

regulations 47 C.F.R. § 64.1200(c)(2) and 47 C.F.R. § 64.1200(e).

       42.     As a result of Bankers’ illegal conduct, the members of the Do-Not-Call Class

have had their privacy rights violated, have suffered statutory and actual damages, and, under 47

U.S.C. § 227(c)(5)(B), are each entitled, inter alia, to a minimum of $500.00 in damages for each

such violation of the TCPA.

                                        REQUEST FOR RELIEF

       Plaintiff, on behalf of himself and the Classes, requests the following relief:

       A.      An order certifying the Classes as defined above;

       B.      An award of statutory damages;

       C.      An injunction requiring Bankers to cease all unauthorized automated telephone

               activities;

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       D.      An award of reasonable attorney’s fees and expenses of litigation; and

       E.      Such further and other relief as the Court deems just or equitable.

                                         JURY DEMAND
       Plaintiff requests trial by jury of all claims that can be so tried.



Dated: February 6, 2017                        TERENCE GARVEY, individually and on behalf
                                               of classes of similarly situated individuals
                                               By: /s/ Michael J. McMorrow
                                                      One of Plaintiff’s Attorneys




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